                         UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF NORTH CAROLINA
                             STATESVILLE DIVISION
                                  5:12-cv-27-RLV
                              (5:03-cr-37-RLV-DCK-6)

GEORGE MICHAEL DIXON,                  )
                                       )
               Petitioner,             )
           vs.                         )                         ORDER
                                       )
UNITED STATES OF AMERICA,              )
                                       )
               Respondent.             )
______________________________________ )

       THIS MATTER is before the Court on an initial review of Petitioner’s Motion to

Vacate, Set Aside, or Correct Sentence, pursuant to 28 U.S.C. § 2255, (Doc. No. 1). For the

reasons that follow, Petitioner’s motion to vacate will be denied, and the Section 2255 petition

will be dismissed as untimely.

       I.   BACKGROUND

       Petitioner George Michael Dixon was indicted on August 26, 2003, and charged with

conspiracy to possess with intent to distribute cocaine base, in violation of 21 U.S.C. §§ 841 and

846. (Criminal Case No., Doc. No. 3: Sealed Indictment). On the same day, the Government

filed a notice pursuant to 21 U.S.C. § 851, notifying the Court and Petitioner that it intended to

rely on Petitioner’s prior drug trafficking conviction for purposes of sentencing. (Id., Doc. No.

10: Information Pursuant to 21 U.S.C. 851). Specifically, Petitioner was convicted on November

17, 1994, for two counts of sale and delivery of cocaine, in the Superior Court of Caldwell

County, North Carolina.

       On August 30, 2005, Petitioner pled guilty to the conspiracy charge, without benefit of a

plea agreement. (Id., Doc. No. 344: Plea Hearing). Petitioner’s Guidelines range of

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imprisonment, based on a total offense level of 33 and a criminal history category of IV, was

between 188 and 235 months. Petitioner was further subject to a mandatory life sentence based

on his prior history and the § 851 Information filed by the Government. The Government,

however, withdrew the § 851 notice before sentencing. (Id., Doc. No. 372: Notice of

Withdrawal of 21 U.S.C. § 851 Notice). On April 17, 2006, this Court sentenced Petitioner to

188 months’ imprisonment, the low end of the Guidelines range. (Id., Doc. No. 378: Judgment).

Petitioner did not appeal. On December 12, 2008, this Court reduced Petitioner’s sentence to

151 months of imprisonment based on the crack cocaine amendments. (Id., Doc. No. 464: Order

Granting Motion to Reduce Sentence).

       Petitioner placed the motion to vacate in the prison mail system on February 21, 2012,

and it was stamp-filed in this Court on February 24, 2012. In his motion, Petitioner contends that

he is entitled to relief under the Fourth Circuit’s en banc decision in United States v. Simmons,

649 F.3d 237 (4th Cir. 2011). In support of the claim for relief under Simmons, Petitioner notes

that his criminal history category of IV was based on prior convictions for which he did not

receive a sentence of more than one year.

       II.    STANDARD OF REVIEW

       Rule 4(b) of the Rules Governing Section 2255 Proceedings provides that courts are to

promptly examine motions to vacate, along with “any attached exhibits and the record of prior

proceedings . . .” in order to determine whether the petitioner is entitled to any relief on the

claims set forth therein. After examining the record in this matter, the Court finds that the

argument presented by the Petitioner can be resolved without an evidentiary hearing based on the

record and governing case law. See Raines v. United States, 423 F.2d 526, 529 (4th Cir. 1970).

       III.    DISCUSSION

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       A.      Relief under 28 U.S.C. § 2255

       On April 24, 1996, Congress enacted the Antiterrorism and Effective Death Penalty Act

(the “AEDPA”). Among other things, the AEDPA amended 28 U.S.C. § 2255 to include a

one-year statute of limitations period for the filing of a motion to vacate. The limitation period

runs from the latest of,

       (1) the date on which the judgment of conviction becomes final;

       (2) the date on which the impediment to making a motion created by governmental action
       in violation of the Constitution or laws of the United States is removed, if the movant was
       prevented from making a motion by such governmental action;

       (3) the date on which the right asserted was initially recognized by the Supreme Court, if
       that right has been newly recognized by the Supreme Court and made retroactively
       applicable to cases on collateral review; or

       (4) the date on which the facts supporting the claim or claims presented could have been
       discovered through the exercise of due diligence.

28 U.S.C. § 2255(f)(1)-(4). Here, Petitioner was sentenced on April 17, 2006, and judgment was

entered on May 23, 2006. Plaintiff did not file the instant motion until about six years later.

Thus, the Section 2255 petition is untimely under Section 2255(f)(1), and neither of the other

subsections applies to render the petition timely. In any event, even if the petition were timely,

Petitioner is not entitled to Simmons relief. Petitioner contends that he is entitled to Simmons

relief because his prior convictions, for which he did not receive a sentence of more than one

year, increased his criminal history category level. See (Doc. No. 1 at 15). The rule in

Simmons, however, has no application to Petitioner’s criminal history category under the

Sentencing Guidelines. Moreover, as noted, the Government withdrew its § 851 notice before

sentencing; thus, Petitioner’s sentence was not enhanced based on a prior drug conviction.

       IV.     CONCLUSION


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       In sum, for the reasons stated herein, Petitioner’s Section 2255 motion is untimely, and

the petition will therefore be dismissed.1

       IT IS, THEREFORE, ORDERED that:

       1.      Petitioner’s Section 2255 motion, (Doc. No. 1), is DENIED and the petition is

               DISMISSED.

       2.      IT IS FURTHER ORDERED that pursuant to Rule 11(a) of the Rules

               Governing Section 2255 Cases, this Court declines to issue a certificate of

               appealability as Petitioner has not made a substantial showing of a denial of a

               constitutional right. 28 U.S.C. § 2253(c)(2); Miller-El v. Cockrell, 537 U.S. 322,

               336-38 (2003) (in order to satisfy § 2253(c), a petitioner must demonstrate that

               reasonable jurists would find the district court’s assessment of the constitutional

               claims debatable or wrong); Slack v. McDaniel, 529 U.S. 474, 484 (2000)

               (holding that when relief is denied on procedural grounds, a petitioner must

               establish both that the correctness of the dispositive procedural ruling is

               debatable, and that the petition states a debatably valid claim of the denial of a

               constitutional right).




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  The Court is aware of the Fourth Circuit’s directive in Hill v. Braxton, 277 F.3d 701, 706 (4th
Cir. 2002), that a court must warn a petitioner that his case is subject to dismissal before
dismissing a petition as untimely filed when justice requires it. Here, however, such warning is
not necessary because, in his memorandum in support of the petition, Petitioner addressed the
statute of limitations issue, contending albeit unsuccessfully that his petition is timely under
Sections 2255(f)(2) and (f)(4) because the petition was filed within one year of Simmons.
Furthermore, Petitioner’s explanation indicates no confusion over the timeliness issue.

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                                      Signed: December 2, 2013




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